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                                                                                                                        Attorneys for Defendant
                                                                                                                    6   CITY OF PLEASANTON; BRADLEE MIDDLETON;
                                                                                                                        JONATHAN CHIN; RICHARD TROVAO; STEVEN
                                                                                                                    7   BENNETT; ALEX KOUMISS; JASON KNIGHT; MARTY
                                                                                                                        BILLDT; and DAVE SPILLER
                                                                                                                    8
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                                                                                                                    9                                UNITED STATES DISTRICT COURT
                                                         3480 BUSKIRK AVENUE, SUITE 250, PLEASANT HILL, CA 94523




                                                                                                                   10                               NORTHERN DISTRICT OF CALIFORNIA

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                                                                                                                        JOHN BAUER, an individual and as               Case No. C19-04593 LB
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                                                                                                                   13   Successor in Interest of Jacob Bauer,
                                                                                                                        deceased; ROSE BAUER, an individual            [PROPOSED] ORDER GRANTING
                                                                                                                   14   and as Successor in Interest of Jacob Bauer,   DEFENDANTS' MOTION FOR
                                                                                                                        deceased,                                      SUMMARY JUDGMENT/PARTIAL
                                                                                                                   15                                                  SUMMARY JUDGMENT
                                                                                                                                       Plaintiff,
                                                                                                                   16                                                  Date:         April 8, 2021
                                                                                                                               vs.                                     Time:         9:30 a.m.
                                                                                                                   17                                                  Dept:         Floor 15, Ctrm. B (S.F.)
                                                                                                                        CITY OF PLEASANTON; CITY OF                    Judge:        Hon. Laurel Beeler
                                                                                                                   18   PLEASANTON; BRADLEE                            Trial Date:   July 19, 2021
                                                                                                                        MIDDLETON; JONATHAN CHIN;
                                                                                                                   19   RICHARD TROVAO; STEVEN
                                                                                                                        BENNETT; ALEX KOUMISS; JASON
                                                                                                                   20   KNIGHT; MARTY BILLDT; and DAVE
                                                                                                                        SPILLER; and DOES 1 to 90 INCLUSIVE,
                                                                                                                   21
                                                                                                                                       Defendant.
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                                                                                                                   28   [PROPOSED] ORDER GRANTING DEFENDANTS' MOTION
                                                                                                                        FOR SUMMARY JUDGMENT/PARTIAL SUMMARY
                                                                                                                        JUDGMENT – C19-04593 LB
                                                                                                                    1                                                    ORDER
                                                                                                                    2          Defendants’ Motion for Partial Summary Judgment/Partial Summary Judgment came

                                                                                                                    3   before this Court. Good cause having been shown, and after full consideration of the moving
                                                                                                                    4   papers, supporting documents, and any opposition and opposing arguments, any reply brief, as
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                                                                                                                        well as any oral arguments, the Court finds that the Defendants’ Motion for Summary Judgment
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                                                                                                                        is hereby GRANTED in full.
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                                                                                                                               As set forth in Defendants’ Motion, summary judgment is properly granted when no
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                                                                                                                    9   genuine issues of material fact remain, and when viewing the evidence in the light most favorable
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                                                                                                                   10   to the non-moving party, the movant is clearly entitled to prevail as a matter of law. FRCP 56;

                                                                                                                   11   Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986).
                                                                                                                   12
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                                                                                                                               Plaintiffs allege that JB was unlawfully seized by the Defendant Officers. The undisputed
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                                                                                                                        record shows that JB was acting bizarre, then refused to answer critical questions and stared
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                                                                                                                        blankly ahead. It cannot be reasonably disputed that Ofc. Middleton and Ofc. Chin had the lawful
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                                                                                                                        right to detain JB for their investigation of events at Raley’s and then the lawful right to handcuff
                                                                                                                   16

                                                                                                                   17   JB for officer safety purposes before continuing their investigation.

                                                                                                                   18          The Ninth Circuit has held that “while there are no bright-line rules, . . . the use of
                                                                                                                   19   especially intrusive means of affecting a stop” is only allowed in “special circumstances, such as
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                                                                                                                        . . . where the suspect is uncooperative or takes action at the scene that raises a reasonable
                                                                                                                   21
                                                                                                                        possibility of danger or flight.” Green v. City and County of San Francisco, 751 F.3d 1039, 1047
                                                                                                                   22
                                                                                                                        (9th Cir. 2014) (citing Washington v. Lambert, 98 F.3d 1181, 1189 (9th Cir. 1996)) (emphasis
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                                                                                                                   24   added). Further, in determining whether the use of handcuffs was reasonable, courts evaluate

                                                                                                                   25   whether the use of handcuffs was reasonable under all the totality of the circumstances and look

                                                                                                                   26   to whether officers reasonably believed an individual was likely to flee or presented a danger to
                                                                                                                   27   the officers. Bautista, 684 F.2d at 1289; In re Antonio B., 166 Cal. App. 4th 435, 441, 82 Cal.
                                                                                                                   28
                                                                                                                        [PROPOSED] ORDER GRANTING DEFENDANTS' MOTION     1
                                                                                                                        FOR SUMMARY JUDGMENT/PARTIAL SUMMARY
                                                                                                                        JUDGMENT – C19-04593 LB
                                                                                                                    1   Rptr. 3d 693 (2008). Here, Chin and Middleton had reasonable suspicion to detain JB due to JB’s
                                                                                                                    2   actions inside of Raley’s and the fact that the store wanted to press charges for the vandalism.
                                                                                                                    3
                                                                                                                        Further, JB’s sudden refusal to answer questions pertaining to whether or not he had anything
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                                                                                                                        illegal on him and then his bizarre staring behavior posed a credible threat to officer safety and
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                                                                                                                        created a fear that JB may be armed or may attempt to flee or fight, thus creating a need to place
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                                                                                                                    7   JB in handcuffs before safely continuing the investigation. Thus, Defendants are entitled to

                                                                                                                    8   judgment as a matter of law as to this lawful seizure in handcuffs.
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                                                                                                                    9          Where numerous officers are involved at different times in the struggle, it should be
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                                                                                                                        emphasized that an officer is only liable for his own misconduct. Ashcroft v. Iqbal, 556 U.S. 662,
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                                                                                                                        677 (2009). The Ninth Circuit has rejected the “team effort” standard that allows a jury to
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                                                                                                                        consider defendants” conduct together; the proper measure is “to base each individual's liability
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                                                                                                                   13
                                                                                                                        on his own conduct.” Hopkins v. Bonvicino, 573 F.3d 752, 769-70 (9th Cir. 2009). Here, each
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                                                                                                                   15   Defendant Officer dealt with JB’s aggression and relentless physical resistance independently and

                                                                                                                   16   at different times. Thus, on summary judgment and for qualified immunity, each officer should
                                                                                                                   17   be judged individually based on their own personal involvement and their basis of knowledge as
                                                                                                                   18
                                                                                                                        to when they were involved in the struggle and how they reacted to the dynamic situation. In
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                                                                                                                        viewing this situation from the perspective of a reasonable officer, in the shoes of Officers
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                                                                                                                        Middleton and Chin, facing the potential threat posed by JB, the use of force by the officers was
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                                                                                                                   22   objectively reasonable, very measured and used with restraint. Ofc. Trovao used limited,

                                                                                                                   23   reasonable force against JB, with a clear legitimate law enforcement interest of gaining control of

                                                                                                                   24   the resistive JB and to do so quickly. Thus, because the evidence clearly establishes that the
                                                                                                                   25   Defendant officers used reasonable force, Plaintiffs excessive force claim fails as a matter of law.
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                                                                                                                               “Government officials may not be held liable for unconstitutional conduct of their
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                                                                                                                        subordinates under a theory of respondeat superior.” Iqbal, 556 U.S. at 676. Under 42 U.S.C. §
                                                                                                                   28
                                                                                                                        [PROPOSED] ORDER GRANTING DEFENDANTS' MOTION     2
                                                                                                                        FOR SUMMARY JUDGMENT/PARTIAL SUMMARY
                                                                                                                        JUDGMENT – C19-04593 LB
                                                                                                                    1   1983, a supervisor may be held liable “if there exists either (1) his or her personal involvement in
                                                                                                                    2   the constitutional deprivation, or (2) a sufficient causal connection between the supervisor's
                                                                                                                    3
                                                                                                                        wrongful conduct and the constitutional violation.” Starr v. Baca, 652 F.3d 1202, 1207 (9th Cir.
                                                                                                                    4
                                                                                                                        2011); Hansen v. Black, 885 F.2d 642, 646 (9th Cir. 1989). The requisite causal connection can
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                                                                                                                        be established by setting in motion a series of acts by others, or by knowingly refusing to
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                                                                                                                    7   terminate a series of acts by others, which the supervisor knew or reasonably should have known

                                                                                                                    8   would cause others to inflict a constitutional injury. Starr, 652 F.3d at 1207-08. Here, Plaintiffs
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                                                                                                                    9   allege that Sergeants Knight and Billdt arrived on scene and “failed to do anything to stop the
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                                                                                                                   10
                                                                                                                        excessive force of their subordinates.” ECF 36, ¶ 29. First of all, the clear evidence shows that
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                                                                                                                        the Defendant Officers did not violate any of JB’s constitutional rights, and as such, Sergeants
                                                                                                                   12
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                                                                                                                        Billdt and Knight cannot be held liable for conduct that is lawful and/or for conduct that is
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                                                                                                                   13
                                                                                                                        protected by qualified immunity.
                                                                                                                   14

                                                                                                                   15          The Fourteenth Amendment guarantees a substantive due process right to familial

                                                                                                                   16   relationships. Lee v. City of Los Angeles, 250 F.3rd 668, 685 (9th Cir. 2001). In order for
                                                                                                                   17   Plaintiffs to prevail on their Fourteenth Amendment familial relationship claim, they must show
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                                                                                                                        the officers acted “with a purpose to harm” JB that was “unrelated to legitimate law enforcement
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                                                                                                                        objectives.” Johnson v. Bay Area Rapid Transit Dist., 724 F.3d 1159, 1168-69 (9th Cir. 2013)
                                                                                                                   20
                                                                                                                        (citing Porter v. Osborn, 546 F.3d 1131, 1137 (9th Cir. 2008)).
                                                                                                                   21

                                                                                                                   22          Here, as established above, officers had reasonable suspicion to detain and handcuff JB

                                                                                                                   23   for their investigation. Detaining a non-compliant, non-responsive suspect, who has not been

                                                                                                                   24   searched for weapons, is clearly a legitimate law enforcement purpose. At the time JB began
                                                                                                                   25   violently resisting and struggling with Officers Middleton and Chin, he had not been searched,
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                                                                                                                        meaning it was clear if he was armed with any weapon. At the time of the struggle, officers acted
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                                                                                                                        with the purpose to protect members of public (as aptly stated by the Raley’s employee who
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                                                                                                                        [PROPOSED] ORDER GRANTING DEFENDANTS' MOTION    3
                                                                                                                        FOR SUMMARY JUDGMENT/PARTIAL SUMMARY
                                                                                                                        JUDGMENT – C19-04593 LB
                                                                                                                    1   expressed concern for the safety of anyone who came in contact with JB), and to protect
                                                                                                                    2   themselves against JB’s destructive behavior and unrelenting resistance.         Further, Plaintiffs
                                                                                                                    3
                                                                                                                        cannot demonstrate that any of the officers’ or supervisors’ actions lacked a legitimate law
                                                                                                                    4
                                                                                                                        enforcement purpose as no officers or supervisors acted with personal animus towards JB, nor did
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                                                                                                                        any officers or supervisors use unnecessary force once JB was finally detained, nor was JB
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                                                                                                                    7   “clearly harmless” or “subdued” throughout anytime in which force was being used. The clear

                                                                                                                    8   and undisputed evidence demonstrates that officers used reasonable levels of force to achieve a
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                                                                                                                    9   legitimate law enforcement purpose, to get JB into lawful custody and thus, the Plaintiffs
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                                                                                                                        Fourteenth Amendment claim fails.
                                                                                                                   11
                                                                                                                               The Fourth Amendment requires law enforcement officers to “provide objectively
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                                                                                                                        reasonable post-arrest care to an apprehended suspect.”        Tatum v. City & County of San
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                                                                                                                   13
                                                                                                                        Francisco, 441 F.3d 1090, 1099 (9th Cir. 2006). Although the Ninth Circuit has not expressly
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                                                                                                                   15   defined what constitutes objectively reasonable post-arrest care to a suspect, the Ninth Circuit has

                                                                                                                   16   required that officers “seek necessary medical attention by promptly summoning help or taking
                                                                                                                   17   the injured arrestee to the hospital.” Tatum, 441 F.3d at 1099. In Tatum, the court held that “a
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                                                                                                                        police officer who promptly summons the necessary medical assistance has acted reasonably for
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                                                                                                                        purposes of the Fourth Amendment.” Tatum, 441 F.3d at 1098-99 (citing Maddox v. City of Los
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                                                                                                                        Angeles, 792 F.2d 1408, 1415 (9th Cir. 1986)). Here, officers requested medical personnel to
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                                                                                                                   22   arrive and stage near the scene before JB was even placed in handcuffs.              Once JB was

                                                                                                                   23   handcuffed, and officers were placing him in the Wrap device, and the scene was secured,

                                                                                                                   24   officers promptly summoned medical personnel (including paramedics and fire personnel) to
                                                                                                                   25   come on to the scene to evaluate JB.
                                                                                                                   26
                                                                                                                               As a threshold matter, liability of a municipality is contingent on a violation of a
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                                                                                                                        constitutional right, meaning without an underlying constitutional violation, there can be no
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                                                                                                                        [PROPOSED] ORDER GRANTING DEFENDANTS' MOTION    4
                                                                                                                        FOR SUMMARY JUDGMENT/PARTIAL SUMMARY
                                                                                                                        JUDGMENT – C19-04593 LB
                                                                                                                    1   municipal liability. Scott v. Henrich, 39 F.3d 912, 916 (9th Cir. 1994); Long v. City and County
                                                                                                                    2   of Honolulu, 511 F.3d 901, 907 (9th Cir. 2007). As discussed above, there is no basis upon which
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                                                                                                                        Plaintiffs can demonstrate a violation of the Fourth or Fourteenth Amendments by any officers or
                                                                                                                    4
                                                                                                                        supervisory officers. Thus, without an underlying violation, there can be no municipal liability.
                                                                                                                    5
                                                                                                                        Scott, 39 F.3d at 916.
                                                                                                                    6

                                                                                                                    7          Plaintiffs have not set forth evidence establishing that officers used unreasonable force

                                                                                                                    8   while supervisory officers stood by and “did nothing” during the struggle with JB. As such,
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                                                                                                                    9   Plaintiffs’ state law claims for the Bane Act, negligence, and battery, fail.
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                                                                                                                               When a plaintiff “asserts no California right different from the rights guaranteed under
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                                                                                                                        the Fourth Amendment, . . . the elements of the excessive force claim under § 52.1 are the same
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                                                                                                                        as under § 1983.” Cameron v. Craig, 713 F.3d 1012, 1022 (9th Cir. 2013). In order to be liable
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                                                                                                                        for a Bane Act violation, the jury must find that the defendant(s) intended not only the force, but
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                                                                                                                   15   also the force’s unreasonableness, meaning its character as more than necessary under the

                                                                                                                   16   circumstances. Id. Here, Plaintiffs’ Eighth Cause of Action for violation of California Civil
                                                                                                                   17   Code § 52.1 “is premised entirely on the alleged violation of the Fourth Amendment.” Id; ECF 36
                                                                                                                   18
                                                                                                                        ¶¶ 107-115. Because Plaintiffs’ Fourth Amendment claim fails, “so too does their § 52.1 claim.”
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                                                                                                                        Montez, 2017 U.S. Dist. LEXIS at. 16. Additionally, Plaintiffs have no evidence of any “intent”
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                                                                                                                        by any officer to use force in an intentionally unreasonable fashion.
                                                                                                                   21

                                                                                                                   22          In terms of Plaintiffs’ battery claim “it is clear that a battery claim against a police officer

                                                                                                                   23   requires that unreasonable force be established.” Nelson v. City of Davis, 709 F. Supp. 2d 978,

                                                                                                                   24   992 (E.D. Cal. 2010). Because the undisputed facts in this case establish that the officers and
                                                                                                                   25   supervisory officers acted reasonably, Plaintiffs cannot prove their state law battery claim.
                                                                                                                   26
                                                                                                                               Similarly, as for Plaintiffs’ negligence claim, “[i]n order to prove facts sufficient to
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                                                                                                                        support a finding of negligence, a plaintiff must show that the defendant had a duty to use due
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                                                                                                                        [PROPOSED] ORDER GRANTING DEFENDANTS' MOTION      5
                                                                                                                        FOR SUMMARY JUDGMENT/PARTIAL SUMMARY
                                                                                                                        JUDGMENT – C19-04593 LB
                                                                                                                    1   care, that he breached that duty, and that the breach was the proximate or legal cause of the
                                                                                                                    2   resulting injury.” Hayes v. Cnty. of San Diego, 57 Cal. 4th 622, 629, 160 (2013). As “long as an
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                                                                                                                        officer’s conduct falls within the range of conduct that is reasonable under the circumstances,
                                                                                                                    4
                                                                                                                        there is no requirement that he or she choose the ‘most reasonable’ action or the conduct that is
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                                                                                                                        the least likely to cause harm and at the same time the most likely to result in the successful
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                                                                                                                    7   apprehension of a violent suspect, in order to avoid liability for negligence.” Brown v.

                                                                                                                    8   Ransweiler, 171 Cal. App. 4th 516, 537-538 (2009). As established above, the officers’ conduct
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                                                                                                                    9   was reasonable “under the circumstances” the officers faced. Similarly, the supervisory officer,
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                                                                                                                        Sergeants Billdt and Knight, supervised their officers and the scene in a reasonable manner that in
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                                                                                                                        no way fell below the standard of care required by law. Thus, Plaintiffs cannot demonstrate any
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                                                                                                                        of their state law claims so Defendants, both officers and supervisory officers, are entitled to
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                                                                                                                        judgment as a matter of law as to that claim as well, along with the City of Pleasanton.
                                                                                                                   14

                                                                                                                   15          Accordingly, Defendants are entitled to summary judgment on all claims and judgment

                                                                                                                   16   must be entered in favor of Defendants.
                                                                                                                   17          Defendants’ Motion for Summary Judgment is hereby GRANTED in full.
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                                                                                                                               IT IS SO ORDERED.
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                                                                                                                   21   Dated: __________________
                                                                                                                                                                       _______________________________________
                                                                                                                   22                                                    Hon. Laurel Beeler
                                                                                                                                                                         Magistrate Judge
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                                                                                                                        [PROPOSED] ORDER GRANTING DEFENDANTS' MOTION     6
                                                                                                                        FOR SUMMARY JUDGMENT/PARTIAL SUMMARY
                                                                                                                        JUDGMENT – C19-04593 LB
